268 F.2d 427
    Harold A. MEARNS, Individually and doing business as Mearns Mining Company, Appellant,v.John L. LEWIS, Henry G. Schmidt and Josephine Roche, as Trustees of the United Mine Workers of America Welfare and Retirement Fund of 1950, Appellees.
    No. 7856.
    United States Court of Appeals Fourth Circuit.
    Argued June 25, 1959.
    Decided June 26, 1959.
    
      Howard Caplan, Clarksburg, W. Va. (Stotler, McReynolds &amp; Caplan, Clarksburg, W. Va., on the brief), for appellant.
      Charles L. Widman and Harold H. Bacon, Washington, D. C. (Louis D. Meisel, Fairmont, W. Va., Val J. Mitch, Washington, D. C., and M. E. Boiarsky, Charleston, W. Va., on the brief), for appellees.
      Before SOBELOFF, Chief Judge, HAYNSWORTH, Circuit Judge, and THOMSEN, District Judge.
      PER CURIAM.
    
    
      1
      Judgment for $28,083.33 was recovered against the appellant, Mearns, a small independent coal mine owner, by the appellees, Trustees of the United Mine Workers of America Welfare and Retirement Fund. The claim was for 40 cents per ton royalties on coal mined between January 1, 1954, and November 6, 1956, under the provisions of the National Bituminous Coal Wage Collective Bargaining Agreement of 1950 as amended September 29, 1952. See Sec. 302(c) of the Taft-Hartley Act, 29 U.S.C.A. § 186(c).
    
    
      2
      The defense was that fraudulent representations were made to him by negotiating agents of the United Mine Workers Union, which were relied upon by him, that the written contract was only a "formality" and that the 40 cents per ton royalty would not be insisted upon, but that he could pay only what he was financially able to pay.
    
    
      3
      We find no error in the disposition of this case, and adopt the District Court's opinion which fully discusses the facts and the law. See Lewis v. Mearns, 168 F.Supp. 134.
    
    
      4
      Affirmed.
    
    